                 Case 1:19-cv-08892-AJN-JLC Document 68 Filed 12/20/19 Page 1 of 2


                                                                                                                                             Reed Smith LLP
                                                                                                                                          101 Second Street
                                                                                                                                                  Suite 1800
                                                                                                                              San Francisco, CA 94105-3659
Brian A. Sutherland                                                                                                                        +1 415 543 8700
Direct Phone: +1 415 659 4843                                                                                                          Fax +1 415 391 8269
Email: bsutherland@reedsmith.com                                                                                                              reedsmith.com



December 20, 2019

Via ECF

The Hon. Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square, Room 2102
New York, NY 10007

Re:        Doe v. U.S. Immigration & Customs Enforcement, No. 19 Civ. 8892

Dear Judge Nathan:

        I write on behalf of a group of immigration law scholars pursuant to Rule 1 of Your Honor’s
Individual Practices in Civil Cases to move for leave to file an amicus curiae brief in support of
Plaintiffs’ opposition to Defendants’ motion to dismiss in the above-referenced case (ECF No. 63).
I have conferred with counsel for the parties and advise the Court that Plaintiffs consent to the motion
and that Defendants take no position on the motion.

                                                       INTEREST OF AMICI CURIAE

        Amici are scholars of constitutional law, criminal law, and immigration law. Collectively, their
scholarship addresses the recent history of immigration enforcement, the entanglement of state and local
criminal systems in immigration enforcement, and the phenomenon of courthouse immigration arrests
and legal issues attendant thereto. Amici have expertise and a professional interest in the proper
construction and enforcement of constitutional and statutory limits on federal immigration enforcement
authority and seek to bring that expertise and interest to bear here by illuminating historical
developments in this area, an understanding of which is critical to a resolution of the claims before the
Court.

        As of the time of this filing, amici curiae include Professor Christopher Lasch of the University
of Denver Sturm College of Law; Professor Sarah Rogerson of Albany Law School; Professor Dina
Francesca Haynes of New England Law | Boston; Professor Annie Lai of the University of California
Irvine School of Law; Professor Rick Su of the University of North Carolina School of Law; Professor
Ingrid Eagly of the University of California Los Angeles School of Law; Professor Jennifer Chacón of
the University of California Los Angeles School of Law; Professor Rose Cuison-Villazor of Rutgers
Law School; Professor Michael Wishnie of Yale Law School; and Professor Pratheepan Gulasekaram of
Santa Clara University School of Law. Amici anticipate that other immigration law scholars may wish to
join the proposed amicus brief as well.



 ABU DHABI  ATHENS  AUSTIN  BEIJING  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG  HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI  MUNICH
  NEW YORK  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON  RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE  TYSONS  WASHINGTON, D.C.  WILMINGTON
           Case 1:19-cv-08892-AJN-JLC Document 68 Filed 12/20/19 Page 2 of 2


The Hon. Alison J. Nathan
December 20, 2019
Page 2


                   REASONS TO GRANT LEAVE TO FILE AN AMICUS BRIEF

        There is no statute or local rule that directly controls when a district court in this Circuit may
entertain an amicus curiae brief. Auto. Club of New York, Inc. v. Port Auth. of New York and New
Jersey, No. 11 Civ. 6746 (RJH), 2011 WL 5865296, at *1 (S.D.N.Y. Nov. 22, 2011) (collecting cases).
The decision is committed to the district court’s sound discretion. See Picard v. Greiff, 797 F. Supp. 2d
451, 452 (S.D.N.Y. 2011). District courts frequently look to Rule 29 of the Federal Rules of Appellate
Procedure to guide their exercise of discretion. Rule 29 provides that a court may permit an amicus
curiae brief if the brief is “desirable” and that “the matters asserted are relevant to the disposition of the
case.” Fed. R. App. P. 29(a)(3)(B).

        The proposed amicus brief is desirable and relevant because this case concerns an important
matter of public interest and because amici have special expertise concerning the history, scope, and
substance of the common-law privilege against civil arrest while at a state courthouse or its environs, or
while traveling to or from state-court proceedings. The immigration law scholars listed above recently
filed an amicus curiae brief in a comparable case pending before Judge Rakoff. See Brief of
Immigration Law Scholars As Amici Curiae in Support of Plaintiffs, New York v. United States
Immigration and Customs Enforcement, No. 19 Civ. 8876 (Nov. 5, 2019, ECF No. 32). They wish to
provide similar assistance to the Court in this case and respectfully seek leave to file an amicus curiae
brief on the date that Plaintiffs’ opposition to Defendants’ motion to dismiss is due, i.e., December 27,
2019 (ECF No. 61).

Respectfully submitted,


/s/ Brian A. Sutherland



cc:    All Counsel of Record (via ECF)
